                     Case 23-13193           Doc 1       Filed 10/03/23 Entered 10/03/23 10:03:28                              Desc Main
                                                            Document    Page 1 of 8

Fill in this information to identify your case:


United States Bankruptcy Court for the:

NORTHERN DISTRICT OF ILLINOIS

Case number (if known)                                                      Chapter      11
                                                                                                                              Check if this an
                                                                                                                              amended filing




Official Form 201
Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                                                          06/22
If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor's name and the case number (if
known). For more information, a separate document, Instructions for Bankruptcy Forms for Non-Individuals, is available.


1.   Debtor's name                CXOsync, LLC

2.   All other names debtor
     used in the last 8 years
     Include any assumed
     names, trade names and
     doing business as names

3.   Debtor's federal
     Employer Identification      XX-XXXXXXX
     Number (EIN)


4.   Debtor's address             Principal place of business                                     Mailing address, if different from principal place of
                                                                                                  business

                                  1900 E. Golf Rd.
                                  Suite 500
                                  Schaumburg, IL 60173
                                  Number, Street, City, State & ZIP Code                          P.O. Box, Number, Street, City, State & ZIP Code

                                  Cook                                                            Location of principal assets, if different from principal
                                  County                                                          place of business

                                                                                                  Number, Street, City, State & ZIP Code


5.   Debtor's website (URL)       cxosync.com


6.   Type of debtor                    Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))
                                       Partnership (excluding LLP)
                                       Other. Specify:




 Official Form 201                         Voluntary Petition for Non-Individuals Filing for Bankruptcy                                              page 1
                   Case 23-13193                 Doc 1      Filed 10/03/23 Entered 10/03/23 10:03:28                                    Desc Main
                                                               Document    Page 2 of 8
Debtor    CXOsync, LLC                                                                                 Case number (if known)
          Name


7.   Describe debtor's business        A. Check one:
                                           Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                           Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                           Railroad (as defined in 11 U.S.C. § 101(44))
                                           Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                           Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                           Clearing Bank (as defined in 11 U.S.C. § 781(3))
                                           None of the above

                                       B. Check all that apply
                                          Tax-exempt entity (as described in 26 U.S.C. §501)
                                           Investment company, including hedge fund or pooled investment vehicle (as defined in 15 U.S.C. §80a-3)
                                           Investment advisor (as defined in 15 U.S.C. §80b-2(a)(11))

                                       C. NAICS (North American Industry Classification System) 4-digit code that best describes debtor. See
                                         http://www.uscourts.gov/four-digit-national-association-naics-codes.



8.   Under which chapter of the        Check one:
     Bankruptcy Code is the                Chapter 7
     debtor filing?
                                           Chapter 9
     A debtor who is a “small
                                           Chapter 11. Check all that apply:
     business debtor” must check
     the first sub-box. A debtor as                              The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D), and its aggregate
     defined in § 1182(1) who                                    noncontingent liquidated debts (excluding debts owed to insiders or affiliates) are less than
     elects to proceed under                                     $3,024,725. If this sub-box is selected, attach the most recent balance sheet, statement of
     subchapter V of chapter 11                                  operations, cash-flow statement, and federal income tax return or if any of these documents do not
     (whether or not the debtor is                               exist, follow the procedure in 11 U.S.C. § 1116(1)(B).
     a “small business debtor”)                                  The debtor is a debtor as defined in 11 U.S.C. § 1182(1), its aggregate noncontingent liquidated
     must check the second                                       debts (excluding debts owed to insiders or affiliates) are less than $7,500,000, and it chooses to
     sub-box.                                                    proceed under Subchapter V of Chapter 11. If this sub-box is selected, attach the most recent
                                                                 balance sheet, statement of operations, cash-flow statement, and federal income tax return, or if
                                                                 any of these documents do not exist, follow the procedure in 11 U.S.C. § 1116(1)(B).
                                                                 A plan is being filed with this petition.
                                                                 Acceptances of the plan were solicited prepetition from one or more classes of creditors, in
                                                                 accordance with 11 U.S.C. § 1126(b).
                                                                 The debtor is required to file periodic reports (for example, 10K and 10Q) with the Securities and
                                                                 Exchange Commission according to § 13 or 15(d) of the Securities Exchange Act of 1934. File the
                                                                 Attachment to Voluntary Petition for Non-Individuals Filing for Bankruptcy under Chapter 11
                                                                 (Official Form 201A) with this form.
                                                                 The debtor is a shell company as defined in the Securities Exchange Act of 1934 Rule 12b-2.
                                           Chapter 12

9.   Were prior bankruptcy                No.
     cases filed by or against            Yes.
     the debtor within the last 8
     years?
     If more than 2 cases, attach a
     separate list.                              District                                 When                                  Case number
                                                 District                                 When                                  Case number

10. Are any bankruptcy cases              No
    pending or being filed by a           Yes.
    business partner or an
    affiliate of the debtor?




     List all cases. If more than 1,
     attach a separate list                      Debtor                                                                     Relationship
                                                 District                                 When                              Case number, if known

 Official Form 201                           Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                page 2
                 Case 23-13193               Doc 1        Filed 10/03/23 Entered 10/03/23 10:03:28                                 Desc Main
                                                             Document    Page 3 of 8
Debtor   CXOsync, LLC                                                                              Case number (if known)
         Name




11. Why is the case filed in    Check all that apply:
    this district?                       Debtor has had its domicile, principal place of business, or principal assets in this district for 180 days immediately
                                         preceding the date of this petition or for a longer part of such 180 days than in any other district.
                                         A bankruptcy case concerning debtor's affiliate, general partner, or partnership is pending in this district.

12. Does the debtor own or          No
    have possession of any          Yes.
    real property or personal                Answer below for each property that needs immediate attention. Attach additional sheets if needed.
    property that needs
    immediate attention?                     Why does the property need immediate attention? (Check all that apply.)
                                                It poses or is alleged to pose a threat of imminent and identifiable hazard to public health or safety.
                                               What is the hazard?
                                                It needs to be physically secured or protected from the weather.
                                                It includes perishable goods or assets that could quickly deteriorate or lose value without attention (for example,
                                               livestock, seasonal goods, meat, dairy, produce, or securities-related assets or other options).
                                                Other
                                             Where is the property?
                                                                              Number, Street, City, State & ZIP Code
                                             Is the property insured?
                                                No
                                                Yes.    Insurance agency
                                                        Contact name
                                                        Phone



         Statistical and administrative information

13. Debtor's estimation of      .         Check one:
    available funds
                                             Funds will be available for distribution to unsecured creditors.
                                             After any administrative expenses are paid, no funds will be available to unsecured creditors.

14. Estimated number of             1-49                                             1,000-5,000                                 25,001-50,000
    creditors                       50-99                                            5001-10,000                                 50,001-100,000
                                    100-199                                          10,001-25,000                               More than100,000
                                    200-999

15. Estimated Assets                $0 - $50,000                                     $1,000,001 - $10 million                    $500,000,001 - $1 billion
                                    $50,001 - $100,000                               $10,000,001 - $50 million                   $1,000,000,001 - $10 billion
                                    $100,001 - $500,000                              $50,000,001 - $100 million                  $10,000,000,001 - $50 billion
                                    $500,001 - $1 million                            $100,000,001 - $500 million                 More than $50 billion

16. Estimated liabilities           $0 - $50,000                                     $1,000,001 - $10 million                   $500,000,001 - $1 billion
                                     $50,001 - $100,000                              $10,000,001 - $50 million                  $1,000,000,001 - $10 billion
                                    $100,001 - $500,000                              $50,000,001 - $100 million                 $10,000,000,001 - $50 billion
                                    $500,001 - $1 million                            $100,000,001 - $500 million                More than $50 billion




 Official Form 201                         Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                   page 3
                 Case 23-13193               Doc 1       Filed 10/03/23 Entered 10/03/23 10:03:28                                Desc Main
                                                            Document    Page 4 of 8
Debtor   CXOsync, LLC                                                                              Case number (if known)
         Name



         Request for Relief, Declaration, and Signatures

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement in connection with a bankruptcy case can result in fines up to $500,000 or
           imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.

17. Declaration and signature
    of authorized                The debtor requests relief in accordance with the chapter of title 11, United States Code, specified in this petition.
    representative of debtor
                                 I have been authorized to file this petition on behalf of the debtor.

                                 I have examined the information in this petition and have a reasonable belief that the information is true and correct.

                                 I declare under penalty of perjury that the foregoing is true and correct.

                                 Executed on        October 3, 2023
                                                  MM / DD / YYYY


                             X /s/       Rupen Patel                                                       Rupen Patel
                                 Signature of authorized representative of debtor                         Printed name

                                 Title    Managing Member




18. Signature of attorney    X /s/ Ben Schneider                                                           Date    October 3, 2023
                                 Signature of attorney for debtor                                                 MM / DD / YYYY

                                 Ben Schneider
                                 Printed name

                                 The Law Offices of Schneider and Stone
                                 Firm name

                                 8424 SKOKIE BLVD SUITE 200
                                 Skokie, IL 60077
                                 Number, Street, City, State & ZIP Code


                                 Contact phone      (847) 933-0300               Email address      ben@windycitylawgroup.com

                                  IL
                                 Bar number and State




 Official Form 201                          Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                  page 4
                      Case 23-13193                    Doc 1         Filed 10/03/23 Entered 10/03/23 10:03:28                                      Desc Main
                                                                        Document    Page 5 of 8

 Fill in this information to identify the case:
 Debtor name CXOsync, LLC
 United States Bankruptcy Court for the: NORTHERN DISTRICT OF ILLINOIS                                                                                Check if this is an

 Case number (if known):                                                                                                                              amended filing




Official Form 204
Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and
Are Not Insiders                                                                           12/15

A list of creditors holding the 20 largest unsecured claims must be filed in a Chapter 11 or Chapter 9 case. Include claims which the
debtor disputes. Do not include claims by any person or entity who is an insider, as defined in 11 U.S.C. § 101(31). Also, do not
include claims by secured creditors, unless the unsecured claim resulting from inadequate collateral value places the creditor
among the holders of the 20 largest unsecured claims.

 Name of creditor and      Name, telephone number Nature of claim                        Indicate if claim   Amount of claim
 complete mailing address, and email address of   (for example, trade                     is contingent,     If the claim is fully unsecured, fill in only unsecured claim amount. If
 including zip code        creditor contact       debts, bank loans,                     unliquidated, or    claim is partially secured, fill in total claim amount and deduction for
                                                  professional services,                     disputed        value of collateral or setoff to calculate unsecured claim.
                                                  and government                                             Total claim, if            Deduction for value        Unsecured claim
                                                  contracts)                                                 partially secured          of collateral or setoff
 American Express                                                                       Contingent                                                                      $180,000.00
 Customer Service                                                                       Disputed
 P.O. Box 981535
 El Paso, TX 79998
 Bank of America                                                                                                                                                          $15,310.78
 Attn: Bankruptcy
 Department
 475 Cross Point Pkwy
 PO Box 9000
 Getzville, NY
 14068-9000
 Illinois Department of                                                                                                                                                      Unknown
 Revenue
 P.O. Box 19035

 Springfield, IL
 62794-9035
 Internal Revenue                                                                       Contingent                                                                    $1,300,000.00
 Service                                                                                Disputed
 Centralized
 Insolvency Operation
 P.O. Box7346
 Philadelphia, PA
 19101-7346
 Navan Travel                                                                                                                                                             $15,000.00
 3045 Park Blvd.
 Palo Alto, CA 94306
 New York State                                                                                                                                                              Unknown
 Department of
 Taxation
 Bankruptcy Section
 PO Box 5300
 Albany, NY 12205
 New York State                                                                                                                                                              Unknown
 Insurance Fund
 PO Box 66699
 Albany, NY 12206


Official form 204                                Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured claims                                 page 1

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                      Case 23-13193                    Doc 1         Filed 10/03/23 Entered 10/03/23 10:03:28                                      Desc Main
                                                                        Document    Page 6 of 8


 Debtor    CXOsync, LLC                                                                                       Case number (if known)
           Name

 Name of creditor and      Name, telephone number Nature of claim                        Indicate if claim   Amount of claim
 complete mailing address, and email address of   (for example, trade                     is contingent,     If the claim is fully unsecured, fill in only unsecured claim amount. If
 including zip code        creditor contact       debts, bank loans,                     unliquidated, or    claim is partially secured, fill in total claim amount and deduction for
                                                  professional services,                     disputed        value of collateral or setoff to calculate unsecured claim.
                                                  and government                                             Total claim, if            Deduction for value        Unsecured claim
                                                  contracts)                                                 partially secured          of collateral or setoff
 On Deck                                                                                Contingent                                                                      $100,000.00
 4700 W. Daybreak                                                                       Disputed
 Pkwy.
 Suite 200
 South Jordan, UT
 84009
 Small Business                                                 All assets of Debtor                                $150,000.00                        $0.00            $150,000.00
 Administration
 Attn: District Counsel
 455 Market Street,
 Suite 600
 San Francisco, CA
 94105
 State of California                                                                                                                                                         Unknown
 Offset Program MS
 A142
 Franchise Tax Board
 PO Box 2966
 Rancho Cordova, CA
 95741-2966
 Vox Funding                                                                            Contingent                                                                        $84,000.00
 100 Park Ave Floor                                                                     Disputed
 26
 New York, NY 10017




Official form 204                                Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured claims                                 page 2

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Case 23-13193   Doc 1   Filed 10/03/23 Entered 10/03/23 10:03:28   Desc Main
                           Document    Page 7 of 8


                         American Express
                         Customer Service P.O. Box 981535
                         El Paso, TX 79998


                         Bank of America
                         Attn: Bankruptcy Department
                         475 Cross Point Pkwy PO Box 9000
                         Getzville, NY 14068-9000


                         Illinois Department of Revenue
                         P.O. Box 19035
                         Springfield, IL 62794-9035


                         Internal Revenue Service
                         Centralized Insolvency Operation
                         P.O. Box7346
                         Philadelphia, PA 19101-7346


                         Navan Travel
                         3045 Park Blvd.
                         Palo Alto, CA 94306


                         New York State Department of Taxation
                         Bankruptcy Section PO Box 5300
                         Albany, NY 12205


                         New York State Insurance Fund
                         PO Box 66699
                         Albany, NY 12206


                         On Deck
                         4700 W. Daybreak Pkwy. Suite 200
                         South Jordan, UT 84009


                         Rupen Patel
                         1600 S. Prairie Ave. Unit 1208
                         Chicago, IL 60616


                         Small Business Administration
                         Attn: District Counsel
                         455 Market Street, Suite 600
                         San Francisco, CA 94105


                         State of California
                         Offset Program MS A142
                         Franchise Tax Board PO Box 2966
                         Rancho Cordova, CA 95741-2966


                         Vox Funding
                         100 Park Ave Floor 26
                         New York, NY 10017
                  Case 23-13193                      Doc 1            Filed 10/03/23 Entered 10/03/23 10:03:28                    Desc Main
                                                                         Document    Page 8 of 8



                                                                     United States Bankruptcy Court
                                                                         Northern District of Illinois
  In re      CXOsync, LLC                                                                                         Case No.
                                                                                      Debtor(s)                   Chapter    11




                                               CORPORATE OWNERSHIP STATEMENT (RULE 7007.1)

Pursuant to Federal Rule of Bankruptcy Procedure 7007.1 and to enable the Judges to evaluate possible disqualification or
recusal, the undersigned counsel for CXOsync, LLC in the above captioned action, certifies that the following is a (are)
corporation(s), other than the debtor or a governmental unit, that directly or indirectly own(s) 10% or more of any class of
the corporation's(s') equity interests, or states that there are no entities to report under FRBP 7007.1:



     None [Check if applicable]




  October 3, 2023                                                        /s/ Ben Schneider
 Date                                                                    Ben Schneider
                                                                         Signature of Attorney or Litigant
                                                                         Counsel for CXOsync, LLC
                                                                         The Law Offices of Schneider and Stone
                                                                         8424 SKOKIE BLVD SUITE 200
                                                                         Skokie, IL 60077
                                                                         (847) 933-0300 Fax:
                                                                         ben@windycitylawgroup.com




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